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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

MARY KATHLEEN ADAMS,                            §
    Plaintiff,                                  §
                                                §
vs.                                             §       NO: 3:18-CV-03098
                                                §
SAFE HOME SECURITY, INC.,                       §
     Defendant.                                 §


                      DEFENDANT SAFE HOME SECURITY INC.’S
                         RULE 12(b)(6) MOTION TO DISMISS


        Defendant Safe Home Security, Inc. respectfully submits its Motion to Dismiss

pursuant to Federal Rule of Civil Procedure 12 (b)(6).

        Plaintiff’s Complaint cannot survive FRCP 12(b)(6) scrutiny, and thus dismissal

is appropriate. First, the TCPA restricts devices that have the capacity to and actually

do perform a specific function: automatically generating and dialing random or

sequential telephone numbers, and Plaintiff’s Complaint does not plead any plausible

or non-conclusory facts indicating that defendant used ATDS equipment to generate

and dial random or sequential numbers. Secondly, Plaintiff has not pled any facts that

would give rise to a cognizable claim under sections 392.304(a) (4) or 392(a) (19) of the

statute.

        WHEREFORE, Defendant Safe Home Security, Inc. respectfully requests that

Plaintiff’s claims against Defendant Safe Home Security, Inc. be dismissed with




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prejudice for Plaintiffs’ failure to state a claim upon which relief can be granted,

pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                         Respectfully submitted,




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                                          ATTORNEYS FOR DEFENDANT
                                          SAFE HOME SECURITY INC.

                                 CERTIFICATE OF SERVICE

         On January 11, 2019, I electronically submitted the foregoing document with the
clerk of court for the U.S. District Court, Northern District of Texas, using the electronic
case filing system of the court. I hereby certify that I have served all counsel of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5 (b)(2).




                                           Bryan D. Pollard




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